                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROINA
                                          DIVISION


UNITED STATES OF AMERICA

               VS.                                                           NO.   '7: ~C;-Ca..-SCi- l~
                                                                               o R D E R


       IT IS HEREBY ORDERED that the following government exhibit(s)

admitted into evidence on       ~~ \;}, ~~b be turned over
to Special Agent ....c:::s-r:o~ ~,       '.
to be retained in his custody until this case is completed, includ­

ing any matters on appeal:

       GOVERN. EXHIBIT NO.:               DESCRIPTION:




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                                                           ITED STATES DISTRICT JUDGE

Received by Agent                   (signature                                     (date)



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